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 1
                                                                               FILED IN THE
 2                                                                         U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON


 3                                                                    Apr 03, 2018
                                                                          SEAN F. MCAVOY, CLERK
 4

 5                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6
      PATRICK G. HOFFMAN ,
 7                                                   NO: 4:18-CV-05055-SMJ
                                 Petitioner,
 8                                                   ORDER DIRECTING TRANSFER
            v.                                       TO NINTH CIRCUIT COURT OF
 9                                                   APPEALS
      NO NAMED RESPONDENT,
10
                                 Respondent.
11

12         On March 23, 2018, the Court received, via the United States Postal Service,

13   documents concerning the conviction of Patrick G. Hoffman, a prisoner at the

14   Washington State Penitentiary. The envelope was sent from Walla Walla,

15   Washington, but with a return address of Brussels, Belgium. The initial page

16   indicates that it is a “Personal Restraint Petition,” which is ordinarily a post-

17   conviction collateral challenge presented to the Washington State appellate courts.

18         When bringing a claim in the United States District Court, the appropriate

19   mechanism to challenge a state court conviction would be a Petition for Writ of

20   Habeas Corpus pursuant to 28 U.S.C. § 2254. See White v. Lambert, 370 F.3d

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 1   1002, 1009–10 (9th Cir. 2004) overruled on other grounds by Hayward v.

 2   Marshall, 603 F.3d 546 (9th Cir. 2010) (“[Section] 2254 is the exclusive vehicle

 3   for a habeas petition by a state prisoner in custody pursuant to a state court

 4   judgment . . . .”). Therefore, the Court liberally construes the submission from Mr.

 5   Hoffman as a habeas petition under 28 U.S.C. § 2254. The $5.00 filing fee was not

 6   paid to commence this action and Mr. Hoffman did not present an application to

 7   proceed in forma pauperis.

 8         Court records show that Mr. Hoffman previously pursued a habeas petition

 9   in the United States District Court, Eastern District of Washington, in cause

10   number 2:92-cv-00082-CI. The petitions in that action were dismissed on October

11   25, 1994, and the Ninth Circuit Court of Appeals issued a mandate affirming the

12   District Court’s decision in appeal number 94-36152, on October 23, 1995.

13   Therefore, the current petition will be treated as a second or successive petition

14   under 28 U.S.C. § 2244.

15         A District Court lacks authority to review successive habeas petitions filed

16   without authorization from the Circuit Court of Appeals. 28 U.S.C.

17   § 2244(b)(3)(A). Specifically, the habeas corpus statute provides:

18         “Before a second or successive application permitted by this section is
           filed in the district court, the applicant shall move in the appropriate
19         court of appeals for an order authorizing the district court to consider
           the application.”
20

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 1   See 28 U.S.C. § 2244(b)(3)(A); Ninth Circuit Rule 22-3. When a second or

 2   successive petition is mistakenly submitted to the district court, that court shall

 3   refer it to the court of appeals. Ninth Circuit Rule 22-3(a).

 4           Accordingly, IT IS ORDERED this case is TRANSFERRED to the Ninth

 5   Circuit Court of Appeals, pursuant to 28 U.S.C. § 1631 and Ninth Circuit Rule 22-

 6   3(a).

 7           Petitioner is advised this transfer would not of itself constitute compliance

 8   with § 2244(b)(3) and Ninth Circuit Rule 22-3; he must still file an application for

 9   leave to proceed in the Court of Appeals and make the showing required by

10   § 2244(b)(2). Petitioner should consult this statute and Ninth Circuit Rule 22-3 for

11   further information.

12           IT IS SO ORDERED. The Clerk of Court shall enter this Order, provide a

13   copy to Petitioner, and close the file.

14           DATED this 3rd day of April 2018.

15
                          __________________________
16                        SALVADOR MENDOZA, JR.
                          United States District Judge
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     ORDER DIRECTING TRANSFER TO
     NINTH CIRCUIT COURT OF APPEALS --3
